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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-cr-00152-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     JAYSON JEFFREY PENN,
2.     MIKELL REEVE FRIES,
3.     SCOTT JAMES BRADY,
4.     ROGER BORN AUSTIN,
5.     TIMOTHY MULRENIN,
6.     WILLIAM VINCENT KANTOLA,
7.     JIMMIE LEE LITTLE,
8.     WILLIAM WADE LOVETTE,
9.     GARY BRIAN ROBERTS, and
10.    RICKIE PATTERSON BLAKE,

       Defendants.


         DEFENDANT ROBERTS’ MOTION TO DISMISS THE INDICTMENT
         ON SUFFICIENCY GROUNDS AND BRIEF IN SUPPORT THEREOF


       Defendant Gary Brian Roberts respectfully moves the Court to dismiss the Superseding

Indictment (Indictment) against him for the reason that the Indictment fails to allege an offense.

Defendant approves, adopts, and incorporates the reasons, arguments, and authorities set forth by

Defendant William Lovette in his Motion to Dismiss Superseding Indictment (Lovette Motion to

Dismiss), Dkt. # 303, filed on July 26, 2021, pursuant to D.C.COLO.LCrR 12.1(b).

                                     I. INTRODUCTION

       Count 1 of the Superseding Indictment charges that, as early as 2012, Defendants allegedly

entered into and engaged in a continuing combination and conspiracy to suppress and eliminate
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competition by rigging bids and fixing prices and other price-related terms for broiler chicken

products sold in the United States, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. See

Dkt. No. 101, ¶ 1. The Superseding Indictment alleges that the Defendants and others allegedly

utilized a “continuing network” of suppliers and co-conspirators to reach agreements and

understandings to submit aligned bids and prices for broiler chicken products; to communicate

non-public information for the purpose of rigging bids and fixing prices and price-related terms

for broiler chicken products; and to monitor bids and price-related terms offered by suppliers and

co-conspirators for broiler chicken products. See Dkt. No. 101, ¶ 48. Under the headings “QSR-

4’s 2013 Freezing Charge,” “QSR-4’s Quality Assurance Costs for 2014,” and “QSR-1’s 8-Piece

COB Supply for 2015,” the Superseding Indictment cites various communications to or from Mr.

Roberts. Id. at ¶¶ 68(c), 69, 82, 91, 93, 98, 104.

       The Government failed to allege an essential element of any count under Section 1 of the

Sherman Act: intent to join and participate in the purported conspiracy. The Superseding

Indictment is accordingly fatally defective, in violation of the Fifth Amendment, and subject to

dismissal. But there are additional reasons that the Court should dismiss the Superseding

Indictment. It does not allege an unlawful agreement between the Defendants or the manner and

means by which they reached it. For the reasons set forth below, Mr. Roberts requests that the

Court dismiss the Superseding Indictment against him.




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                         II. APPLICABLE LAW AND ARGUMENT

A. The Government Fails to Allege That Mr. Roberts Intended To, And Did In Fact, Join a
   Section I Conspiracy

       An indictment must contain the elements of the offense, and must fairly inform the

defendant of the charge against which he or she must defend. See United States v. Resendiz-Ponce,

549 U.S. 102, 107 (2007) (quoting Hamling v. United States, 418 U.S. 87, 119 (1974)). Failure to

charge an essential element of a crime violates the Fifth Amendment. See United States v. Sinks,

473 F.3d 1315, 1320 (10th Cir. 2007) (citing Apprendi v. New Jersey, 530 U.S. 466 (2000)). “The

court should dismiss an indictment if it does not ‘contain[ ] the elements of the offense intended

to be charged.’” United States v. Kilpatrick, 821 F.2d 1456, 1462 (10th Cir. 1987) (quoting Russell

v. United States, 369 U.S. 749, 763 (1962)).

       A criminal antitrust offense under Section 1 of the Sherman Act has four elements: (1) an

agreement; (2) that unreasonably restrains trade; (3) that affects interstate commerce; and (4) that

was knowingly entered into by the defendant. See Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006).

“Intent to   restrain   competition    ...     is         an element of   a   criminal   violation   of

the Sherman Act.” United States v. Suntar Roofing, Inc., 897 F.2d 469, 479 (10th Cir. 1990) (citing

United States v. Metropolitan Enters., Inc., 728 F.2d 444, 449 (10th Cir. 1984); citing United

States v. United States Gypsum Co., 438 U.S. 422, 443–446 (1978)). “The requisite intent can be

proved by showing that the defendants knowingly joined and participated in the conspiracy.” Id. at

479-480 (citing Metropolitan Enters., Inc., at 450).

       The Superseding Indictment fails to allege that Mr. Roberts intentionally or knowingly

joined or participated in the alleged conspiracy to rig bids and fix prices. It contains broad,

generalized allegations concerning an alleged “continuing agreement, understanding, and concert

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of action among the Defendants and co-conspirators, see Dkt. No. 101, ¶ 2, and the Defendants’

alleged utilization of a “continuing network” of suppliers and co-conspirators, id. at ¶ 48. The

Government’s allegations regarding Mr. Roberts likewise contain no facts that speak to his alleged

knowledge of any conspiracy, or evince his intent to join it. Id. at ¶¶ 68(c), 69, 82, 91, 93, 98, 104.

       The U.S. Court of Appeals for the Tenth Circuit regularly affirms dismissals of indictments

for failure to allege an essential element of an offense. See, e.g., United States v. Hathaway, 318

F.3d 1001, 1009, 1010 (10th Cir. 2003) (affirming dismissal and finding that the indictment of the

defendant for forcibly assaulting a federal officer, in violation of 18 U.S.C. § 111(a), failed to

allege required and essential elements of the felony crime for which the defendant was convicted,

and was insufficient to sustain the defendant’s conviction); United States v. Brady, 13 F.3d 334,

340 (10th Cir. 1993) (affirming the district court’s dismissal of indictment charging the defendant

with four counts of using and trafficking counterfeit access devices, in violation of 18 U.S.C. §

1029(a)(1), and finding that the indictment did not contain one of the necessary elements of a

violation of § 1029); United States v. Shelton, 848 F.2d 1485, 1494 (10th Cir. 1988) (concluding,

as to one defendant, that the indictment for mail fraud under 18 U.S.C. § 1341 which did not allege

that the victims of the fraud were deprived of money or property, failed to ensure that the grand

jury returned an indictable offense and to provide notice of the elements of the offense, and

permitted the defendant to be convicted on the basis of conduct which was not a federal crime).

Likewise, another court upheld a dismissal of a Sherman Act Section 1 charge based upon

insufficient allegations in an indictment. See United States v. ORS, Inc., 997 F.2d 628, 629 (9th

Cir. 1993) (affirming the dismissal of an indictment where it failed to allege facts showing a nexus

between the defendant’s business activities and interstate commerce).


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       The Superseding Indictment here fails to allege Mr. Roberts’ knowledge and intent, an

essential and required element of the offense. The Indictment accordingly violates the Fifth

Amendment, and any conviction of Mr. Roberts pursuant to the defective indictment would violate

his Sixth Amendment rights. See Sinks, 473 F.3d at 1320 (“When a jury does not find an essential

element of a crime, a defendant's conviction violates the Sixth Amendment”) (cting Blakely v.

Washington, 542 U.S. 296 (2004)). It follows that the Superseding Indictment should properly be

dismissed as fatally defective.

       The Tenth Circuit’s Metropolitan Enterprises decision controls here. In Metropolitan—in

which the government prosecuted an alleged antitrust conspiracy among highway paving

contractors to rig the bidding on contracts to repave portions of an interstate highway—the Tenth

Circuit rejected the defendants’ contentions that the indictment failed to state an offense under

Section 1 for failing to allege that defendants acted with the requisite anticompetitive intent or

knowledge. 728 F.2d at 452. The Court found that it was clear from reading the indictment in its

entirety that the defendants intended to produce the anticompetitive effects, and provided the

defendants with sufficient information to adequately prepare their defense. Id. at 453 (citing

United States v. Cargo Service Stations, Inc., 657 F.2d 676, 681–684 (5th Cir. 1981); United States

v. Azzarelli Construction Co., 612 F.2d 292, 297–298 (7th Cir. 1979); United States Gypsum

Co., 438 U.S. at 444-445; United States v. Wilshire Oil Company, 427 F.2d 969, 972 (10th Cir.

1970)). Specifically, the indictment alleged that the defendants “discussed the submission of

prospective bids; agreed among themselves upon a low bidder; agreed that appellant Metropolitan

Enterprises, Inc., would receive a specified subcontract to perform certain work on the projects in

question; and submitted intentionally high, noncompetitive bids, or withheld bids.” Id. Although


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the government did not explicitly use the word “intent,” the indictment included detailed

descriptions of the agreement and the actions that the defendants took to manipulate the bid process

pursuant to that agreement made clear that the defendants, “by conspiring, did intend to produce

the anticompetitive effects.” Id.

       Metropolitan cannot be relied upon to salvage the deficiencies of the Superseding

Indictment in this case. Here, in contrast to Metropolitan, the government failed to identify any

specific anticompetitive agreement and actions taken pursuant to that agreement. Moreover, the

Government’s substantive allegations do not show that Mr. Roberts knowingly joined and

participated in a conspiracy to restrain trade. The Government references 8 telephone calls to or

from Mr. Roberts, yet makes no allegation regarding the content of any of the calls. See Dkt. No.

101, ¶¶ 91, 93. The Indictment cites five e-mails and attachments which were sent or forwarded to

Mr. Roberts. Id. at ¶¶ 68(c), 82, 91, 98, 104. In the three e-mails which were sent by Mr. Roberts,

in one e-mail Mr. Roberts states that he wants to understand what the “storage expectation” is, id.

at ¶ 69, and in the other two Mr. Roberts attaches cost-plus pricing models for “Supplier-3,” id. at

¶¶ 91, 98. The fourth email is an internal email in which another employee tells Mr. Roberts and

Mr. Mulrenin about Supplier-1’s planned response to quality assurance costs. Id. at ¶82. In the

fifth, Mr. Roberts receives a meeting invitation from an employee of Cooperative-1 in which that

employee comments that Supplier-3’s pricing is “ridiculous.” Id. at ¶104.          The Indictment

acknowledges that Mr. Roberts was a manager and director for Supplier-3. Id. at ¶ 20. Unlike in

Metropolitan Enterprises, where the indictment described specific agreements to thwart a

competitive bid process, the Government’s allegations here are consistent with ordinary, legitimate

business activity, and thus, wholly insufficient to support an inference of an alleged intent on the


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part of Mr. Roberts to join and participate in a conspiracy to rig bids and fix prices for broiler

chicken products. See United States v. Suntar Roofing, Inc., 897 F.2d 469, 475 (10th Cir. 1990)

(“[I]t is not unlawful for competitors to… exchange information on independently derived

prices”). The Government’s Indictment fails to allege an essential element under Section 1 of the

Sherman Act, is constitutionally invalid, and should be dismissed as to Mr. Roberts.

B. The Superseding Indictment Fails to Allege that Mr. Roberts Committed an Actus Reus
   or Had the Mens Rea to Violate the Sherman Act, and Fails to Allege that Mr. Roberts
   Engaged in a Per Se Restraint of Trade

       Mr. Roberts furthermore submits that the Superseding Indictment is subject to dismissal

for failure to allege that Mr. Roberts possessed the mens rea to violate the Sherman Act or

committed an actus reus in violation of the Act, or the manner and means by which Mr. Roberts

and the other Defendants reached the agreement. See Dkt. No. 303, pp. 3-8. Moreover, as argued

in the Lovette Motion to Dismiss, the Superseding Indictment fails to allege that Mr. Roberts

engaged in a per se restraint of trade, and therefore a rule of reason analysis must apply to Mr.

Roberts’ alleged conduct and the Superseding Indictment should be dismissed. Id. at 12-13. In

addition, the Superseding Indictment is subject to dismissal based upon the fact that it alleges

multiple conspiracies in a single count, as opposed to a single conspiracy. Id. at 13-15. Pursuant

to D.C.COLO.LCrR 12.1(b), Mr. Roberts approves, adopts, and incorporates the reasons,

arguments, and authorities set forth in the Lovette Motion to Dismiss in support of dismissal of

the Superseding Indictment as to him.




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                                     III. CONCLUSION

       Based upon the authorities and grounds set forth herein, Defendant Brian Roberts

respectfully requests that the Court grant Defendant Roberts’ Motion to Dismiss the Indictment on

Sufficiency Grounds, and dismiss the Superseding Indictment as to him.

       Respectfully submitted, this 26th day of July, 2021.

                                                     s/ Craig A. Gillen____________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of July, 2021, I electronically filed the foregoing

DEFENDANT         ROBERTS’        MOTION       TO     DISMISS      THE     INDICTMENT        ON

SUFFICIENCY GROUNDS AND BRIEF IN SUPPORT THEREOF with the Clerk of Court

using the CM/ECF system which will send notification of such filing to all listed parties.


                                                      s/ Craig A. Gillen____________________
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